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CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA,

Pablo Hernandez

 

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iolation: 18USC1956

CourtSmart/ Reppter: . | | 2 | A Ol %

| Western Division

Plaintiff, |

vs. | Case Number: 2:15-CR-00662-ODW-5 Indictment
Initial App. Date: 01/08/2016 Custody
Initial App. Time: 2:00 PM
|
|
Defendant. | ate Filed: 12/01/2015

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|

 

 

PROCEEDINGS HELD BEFORE UNITED STATES
MAGISTRATE JUDGE: Rozella A. Oliver

CALENDAR/PROCEEDINGS SHEET
LOCAL/OUT-OF-DISTRICT CASE

 

 

 

 

 

PRESENT: Roberson, Gay . ; , ; Spanish
Peter Map dol — Ti seins
Deputy Clerk Assistant U.S. Attorney Interpreter/Language

sle-/

, [] Preliminary Hearing set for at 4:30 PM

[} INITIAL APPEARANCE NOT HELD - CONTINUED
[t/Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
C] preliminary hearing OR [7] removal eee, ! Rule 20.

M1 Defendant states true name (] is as charged [ii fad oO he gua d CZ. Vel AS Co

((] Court ORDERS the caption of the Indictment/information be changed to reflect defendant's different true name. Counsel are directed
to file all future documents reflecting the true name as stated on the record.

[Whefendant advised of consequences of false statement in financial affidavit. [] Financial Affidavit ordered SEALED. :
vi Attorney: Michael Meza, Panel [Appointed C) Prev. Appointed [J Poss. Contribution (see separate order)

CT Special appearance by:
[J Government’s request for detention is: [] GRANTED Cl] DENIED [1] WITHDRAWN (1 CONTINUED

Defendant is ordered: ' [Permanently Detained [1] Temporarily Detained (see separate order).
[[] BAIL FIXED AT § (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)

[_] Government moves to UNSEAL Complaint/Indictment/Information/Entire Case: [] GRANTED [1] DENIED
[(] Preliminary Hearing waived.

 

[J Class B Misdemeanor [] Defendant is advised of maximum penalties
[[] This case is assigned to Magistrate Judge
the setting of all further proceedings.

[] PO/PSA WARRANT [] Counsel are directed to contact the clerk for :
District Judge ” for the setting of further proceedings.

. Counsel are directed to contact the clerk for

 

 

[C]PIA set for: at 1:00PM in LA; at 9:30 AM in Riverside; at 10:00 AM in Santa Ana

[] Government’s motion to dismiss case/defendant only: [7] GRANTED [7] DENIED
(J Defendant’s motion to dismiss for lack of probable cause: C] GRANTED (] DENIED .

[_] Defendant executed Waiver of Rights. [7] Process received.
[_] Court ORDERS defendant Held to Answer to District of

[J Bond to transfer, if bail is posted. Defendant to report on or before

 

 

 

 

 

("] Warrant of removal and final commitment to issue. Date issued: By CRD:
[-] Warrant of removal and final commitment are ordered stayed until .
[{] Case continued to (Date) (Time) AM /PM
Type of Hearing: Before Judge /Duty Magistrate Judge.

 

Proceedings will be held in the [7] Duty Courtroom J Judge’s Courtroom
Defendant committed to the custody of the U.S. Marshal [1 Summons: Defendant ordered to report to USM for processing.
[(] Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.
[] Abstract of Order to Return Defendant to Court on Next Court Day (M-20) issued. Original forwarded to USM.

[[] RELEASE ORDER NO:

[WOther: PLA Avaygument HE di See. SEO LATS, Minutest.

(W rsa C0 usro [1 FINANCIAL PVKEADY .
Deputy Clerk Initials CG fh
: ¢ G

M-S (10/13) CALENDAR/PROCEEDING SHEET - LOCAL/OUT-OF-DISTRICT CASE Page 1 of I

 

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